               Case 2:18-cv-02347-MTL Document 320 Filed 07/14/22 Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ARIZONA
                                   CIVIL MINUTES - GENERAL
Phoenix Division

Case No.     CV-18-02347-PHX-MTL                  DATE: July 14, 2022


Title:Johnny Wheatcroft vs.  City of Glendale, et al.
          Plaintiff               Defendant
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HON:     Eileen S. Willett      Judge #:   70CC

   Debbie Monroe                            Not Recorded
   Judicial Assistant                      Reporter/ECRO

APPEARANCES:

Jody Broaddus appearing for Plaintiff Johnny Wheatcroft, who is also present.

Joseph Popolizio and John Masterson appearing for Defendants Matt Schneider, and Mark Lindsey,
who are also present, and Defendant City of Glendale. Also present are: Ashley Wallace, Glendale
Assistant City Attorney; Kathy Thomas and Diane Shoemaker, from Risk Management; Joe Fechter,
from Safety National.

All appearances telephonic.

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PROCEEDINGS:          Open Court        Chambers      X   Other


The settlement Magistrate Judge conducted a telephonic settlement conference. All parties
participated in good faith. Settlement negotiations continue.

IT IS ORDERED setting a continued telephonic settlement conference for July 18, 2022 from
9:00 a.m. to 12:00 p.m. The Arizona Department of Corrections shall make Plaintiff Wheatcroft
available by phone for the continued telephonic settlement conference. The settlement Magistrate
Judge will call each attorney at the numbers provided by them.



Total time: 3 hours
10:00 a.m. – 1:00 p.m.
